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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF SOUTH DAKOTA
                                       SOUTHERN DIVISION




          UNITED STATES OF AMERICA,                  CR


                       Plaintiff,                    REDACTED INDICTMENT


                 V.                                  Wire Fraud and Money Laundering

         PAUL ERICKSON,                              18 U.S.C. §§ 1343, 1956(a)(l)(A)(i),
                                                     and 1957(a)
                       Defendant.




              The Grand Jury charges:

                                          Introduction
                                           (Count 1)

              1.      From on or about 1996 to August, 2018, in the District of South

        Dakota, and elsewhere, the Defendant, Paul Erickson, did knowingly and

        unlawfully devise a scheme and artifice to defraud and to obtain money by means

        of false and fraudulent pretenses, representations, and promises, as set forth

        below.


                                      The Scheme to Defraud


              2.      Defendant Paul Erickson (hereinafter, "Defendant") was a resident

        of Sioux Falls, South Dakota, who solely owned and operated a number of

        business entities, including Compass Care,Inc., Investing with Dignity, LLC, and

        an unnamed venture to develop land in the Bakken oil fields in North Dakota.

        Through his business and social activities. Defendant became acquainted with
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several individuals with whom he developed strong professional and personal

relationships.

      3.    The object and purpose of the scheme was for Defendant to unjustly

enrich himself at the expense of people he defrauded. Defendant maintained

and controlled bank accounts which he used to pay for his personal expenses.

In order to fund his personal expenses, Defendant devised a scheme and artifice

to defraud to obtain money from several individuals, hereinafter referred to as

victims, by false and fraudulent pretenses, representations, and promises.

      4.    Regardless of the name of the business owned and operated by

Defendant, Compass Care, Inc., Investing with Dignity, LLC, and the unnamed

venture to develop land in the Bakken oil fields in North Dakota, they were all

part of the same scheme to defraud investors and personally enrich Defendant.

                             Compass Care, Inc.

      5.    It was part of the scheme and artifice to defraud that Defendant

controlled and operated a company known as "Compass Care." Defendant filed

articles ofincorporation for Compass Care, Inc., with the South Dakota Secretary

of State's Office on December 20, 1996, and provided a Sioux Falls address.

Defendant filed a number of address changes including the most recent one on

October 28, 2017, listing an address in Sioux Falls, South Dakota. In all of the

filings. Defendant was the named President of Compass Care.

      6.    It was part of the scheme and artifice to defraud that Defendant

made various false and fraudulent representations to individuals located in

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South Dakota and elsewhere, to induce those individuals to give him money to

invest in Compass Care.

        7.   It was part of the scheme and artifice to defraud that Defendant

represented to potential investors that Compass Care was in the business of

designing, building, and managing assisted living residences for senior citizens

around the country.

        8.   As part of the scheme and artifice to defraud. Defendant made false

and fraudulent representations to potential investors, including, among others,

that:


             a. The purpose of Compass Care was to raise financing for
                development and expansion of senior residential care
               facilities.


             b. Returns on investment in Compass Care would be paid
                back within one year.

             c. Defendant promised he would personally repay the full
                amount of original investment within one year if the
                returns failed to materialize or were delayed beyond one
                year.


             d. The staff of Compass Care had over 90 years of operating
                experience.

             e. The Compass Care senior operations team oversaw 27,000
                nursing homes, assisted living and apartment beds in 26
                states.


             f. A typical Compass Care facility provided a home for 61
                residents and sat on four beautiful landscaped grounds.

             g. A Compass Care facility averaged approximately 6 million
               in total development costs while generating in excess of
               $1.7 million in annual gross revenue at full occupancy.
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      9.    It was part of the scheme and artifice to defraud that Defendant

would obtain money from the victims in exchange for the false impression that

the money was being used to invest in Compass Care, when in fact the money

paid by victims was not used in the manner represented to them.

                          Investing with Dignity, LLC

      10.   It was part of the same scheme and artifice to defraud that the

Defendant controlled and operated a business known as "Investing with Dignify."

Defendant filed articles of incorporation for Investing with Dignity, LLC, with the

South Dakota Secretary of State's Office pn September 20, 2010, and provided a

Sioux Falls address. In the filings. Defendant was named as the registered agent

and manager.

      11.   It was part of the scheme and artifice to defraud that Defendant

made various false and fraudulent representations to individuals located in

South Dakota and elsewhere, to induce those individuals to give him money to

invest in Investing with Dignity.

      12.   It was part of the scheme and artifice to defraud that Defendant

represented to potential investors that Investing with Dignity was in the business

of developing a wheelchair that allowed people using it to go to the bathroom

without being lifted out of the wheelchair.
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        13.   As part of the scheme and artifice to defraud, Defendant made false

and fraudulent representations to potential investors, including, among others,

that:


              a. The purpose of Investing with Dignity was to design and
                 produce wheelchairs.

              b. Investing with Dignity would double or triple the victims'
                 original investment in a short time (often 5 months or a
                 year).

              c. Defendant promised he would personally repay the full
                amount of the original investment.

        14.   It was part of the scheme and artifice to defraud that Defendant

would obtain money from the victims in exchange for the false impression that

the money was being used to invest in Investing with Dignity, when in fact the

money paid by victims was not used in the manner represented to them.

                            Bakken oil field venture


        15.   It was part of the same scheme and artifice to defraud that the

Defendant represented that he controlled and operated a venture claiming to

purchase real property in the Bakken oil field areas of North Dakota for the

purpose of building single-family residences.        Defendant began soliciting

potential investors in approximately 2013.

        16.   It was part of the scheme and artifice to defraud that Defendant

made various false and fraudulent representations to individuals located in

South Dakota and elsewhere, to induce those individuals to give him money to

invest in Defendant's Bakken oil fields real estate development venture.

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        17.   It was part of the scheme and artifice to defraud that Defendant

represented to potential investors that Defendant's Bakken oil fields real estate

development venture was in the business of buying real estate and building

single-family residences.

        18.   As part of the scheme and artifice to defraud, Defendant made false

and fraudulent representations to potential investors, including, among others,

that:


              a. The purpose of the Bakken oil fields venture was to buy
                 real estate and build homes in the Bakken oil field area of
                 North Dakota.


              b. Defendant frequently indicated to investors that his
                 projects had or were in the process of being built.

              c. Defendant promised returns of between 25% and 90% in
                 as short a time as 3 months.


              d. Defendant promised he would personally repay the full
                 amount of original investment within 6 months.

        19.   It was part of the scheme and artifice to defraud that Defendant

would obtain money from the victims in exchange for the false impression that

the money was being used to invest in the purchase of real estate and the

construction of single-family homes in North Dakota, when in fact the money

paid by victims was not used in the manner represented to them.

                                    The Wires


        20.   It was part of the same scheme and artifice to defraud that

Defendant solicited individuals to give him money for the purpose of investing in
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Compass Care, Investing with Dignity, and Defendant's Bakken oil fields real

estate development venture.

        21.   Many of the investor victims wrote checks to Defendant for their

investment. The Defendant caused each check to be deposited into his bank

accounts in Sioux Falls, South Dakota, at Home Federal Bank and Wells Fargo

Bank. Each check was subsequently entered into the banking system causing

interstate electronic transfer of funds from the source bank through the Federal

Reserve Bank in Minneapolis, Minnesota, to Wells Fargo Bank and Home Federal

Bank in South Dakota.


        22.   For the purpose of executing the scheme and artifice to defraud.

Defendant transmitted and caused to be transmitted certain writings, signs,

signals, and sounds in interstate commerce by means of a wire communication.

Specifically, on or about the dates indicated, and in order to continue his scheme

and artifice to defraud. Defendant caused interstate wire communications to

occur, between South Dakota and other states, based on the following

transactions:


              Date          Item         From                  To
 1         04/22/99 $100,000 check       V.T.   Compass Care Home Federal
                                                account
2          04/28/99 $300,000 check       V.T.   Compass Care Home Federal
                                                account
3          11/05/99 $40,000 wire         V.T.   Compass Care Home Federal
                                                account
4          07/07/00 $99,648 wire         M.J.   Compass Care Home Federal
                                                bank account




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5        12/18/00 $64,000 wire           V.T.    Compass Care Home Federal
                                                 bank account
6        10/17/03 $49,824 check          M.J.    Compass Care Wells Fargo bank
                                                 account
7        10/14/05 $49,999.20             M.J.    Compass Care Wells Fargo bank
                      check                      account
8        01/08/07 $2,000 cheek           L.W.    Compass Care Wells Fargo
                                                 account
9        01/22/10 $100,000 wire          M.J.   Investing with Dignity Wells
                                                 Fargo account
 10      07/20/10 $25,000 check          M.J.   Investing with Dignity Wells
                                                 Fargo account
 11      08/24/10 $25,000 check          M.J.   Investing with Dignity Wells
                                                 Fargo account
 12      08/09/12    $15,000 wire        M.W.    Eriekson Wells Fargo   account
 13      04/03/13    $5,000 cheek        K.H.    Eriekson Wells Fargo   account
 14      06/16/14J   $12,000 check       L.W.    Eriekson Wells Fargo   account
 15      09/23/14    $11,000 check       R.D.    Eriekson Wells Fargo   account
 16      11/10/14    $5,000 wire         R.D.    Eriekson Wells Fargo   account
 17      01/12/15    $25,000 wire        C.B.    Eriekson Wells Fargo   account
 18      04/14/15    $25,000 check       L.W.    Eriekson Wells Fargo   account
 19      04/23/15    $25,000 check       L.W.    Eriekson Wells Fargo   account
20       05/09/16    $25,000 wire        M.S.    Eriekson Wells Fargo   account
21       03/01/17    $100,000 wire       D.G.    Eriekson Wells Fargo   account
22       05/31/17    $100,000 wire       J.G.    Eriekson Wells Fargo   account

Defendant's actions were all in violation of 18 U.S.C. § 1343.

                               Money Laundering
                                (Counts 2-8)

      23.    On or about the dates listed below, in the District of South Dakota

and elsewhere, the Defendant, Paul Eriekson, did knowingly conduct and

attempt to conduct the following financial transactions in the approximate

amounts indicated affecting interstate and foreign commerce, to wit, money

payments to individuals or entities listed below, which involved the proceeds of

a specified unlawful activity, that is, wire fraud, in violation of U.S.C. 18 § 1343,

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with the intent to promote the cariying on of specified unlawful activity, to wit,

wire fraud, as charged in Count 1, inclusive, and that while conducting and

attempting to conduct such financial transactions knew the property involved in

the financial transactions represented the proceeds of some form of unlawful

activity:

  Count           Date               Amount                    Recipient
2           10/07/2014          $50,000             H.H.
3           10/08/2014          $10,000             H.H.
4           06/24/2015          $ 8,000             M.B.
5           07/08/2015          $25,000             K.B.
6           10/14/2015          $10,000             L.W.
7           03/01/2017          $25,000             M.S.
8           03/01/2017          $ 1,000             M.B.


Defendant's actions were all in violation of 18 U.S.C. § 1956(a)(1)(A)(i).

                               Money Laundering
                                (Counts 9-11)

      24.    On or about the following dates, in the District of South Dakota and

elsewhere, the Defendant, Paul Erickson, did knowingly engage and attempt to

engage in the following monetary transactions by, through, and to a financial

institution, affecting interstate and foreign commerce, in criminally derived

property of a value greater than $10,000, that is, transfers of funds, such

property having been derived from a specified unlawful activity, that is, wire

fraud, in violation of 18 U.S.C. § 1343, in the amounts set forth below:
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Count        Date        Amount              From Bank              Payee
9        12/11/2015 $14,000.00 Erickson Wells Fargo           Cash withdrawal
                                     account

 10      06/01/2017 $20,472.09 Erickson Wells Fargo           American
                                     account                  University
 11      06/07/2017 $25,000.00 Erickson Wells Fargo          "W.R."
                                     account


Defendant's actions were all in violation of 18 U.S.C. § 1957(a).

                                             A TRUE BILL:



                                                "REDACTED"
                                             'Foreperson

RONALD A. PARSONS, JR.
United States Attorney




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